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                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS
                                      SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,

                       Plaintiffs,                             Lead Case No: 5:21-cv-844-XR
                                                                         [Lead Case]
           v.

 GREGORY W. ABBOTT, et al.,

                       Defendants.


 HARRIS COUNTY REPUBLICAN PARTY, et
 al.,
             Intervenor-Defendants.


  [PROPOSED] ORDER ADOPTING LULAC PLAINTIFFS’ PARTIALLY OPPOSED
                   REQUEST FOR JUDICIAL NOTICE

       LULAC Plaintiffs have requested that the Court take judicial notice of certain facts based

on (1) population data produced by the U.S. Census Bureau; and (2) election data produced by the

U.S. Election Assistance Commission (EAC). Having considered LULAC Plaintiffs’ partially

opposed request for judicial notice and all accompanying exhibits, the Court GRANTS the request,

and takes JUDICIAL NOTICE of the following facts pursuant to Rule 201 (b)(2) of the Federal

Rules of Evidence:

U.S. Census Data

       1.          According to the 2010 Census, Texas had a total population of 25,145,561, with a

Hispanic        population   of    9,460,921   (37.6%),   a   non-Hispanic   Black   population   of

2,886,825.(11.4%), a mixed-race non-Hispanic Black population of 3,019,318 (12%), a non-

Hispanic Asian population of 948,426 (3.8%), and a non-Hispanic White population of 11,397,345
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(45.3%). U.S. Census Bureau, 2010 Decennial Redistricting Data Table P2 (2011) (Ex. 2),

https://data.census.gov/table?q=P2&g=040XX00US48&tid=DECENNIALPL2010.P2.

         2.       According to the 2020 Census, Texas has a total population of 29,145,505, with a

Hispanic population of 11,441,717 (39.3%), a non-Hispanic Black population of 3,444,712

(11.8%), a mixed-race non-Hispanic Black population of 3,727,721 (12.8%), a non-Hispanic Asian

population of 1,561,518 (5.4%), and a non-Hispanic White population of 11,584,597 (39.7%). U.S.

Census        Bureau,   2020   Decennial   Redistricting   Data:    Table   P2   (2021)   (Ex.   3),

https://data.census.gov/table?q=P2:+HISPANIC+OR+LATINO,+AND+NOT+HISPANIC+OR+

LATINO+BY+RACE&g=040XX00US48&tid=DECENNIALPL2020.P2

         3.       According to the 2010 Census, Texas had a voting-age population (VAP) of

18,279,737, with a Hispanic VAP of 6,143,144 (33.6%), a non-Hispanic Black VAP of 2,076,282

(11.3%), a mixed-race non-Hispanic Black population of 2,128,048 (11.6%), a non-Hispanic Asian

VAP of 716,968 (3.9%), and a non-Hispanic White VAP of 9,074,684 (49.6%).. U.S. Census

Bureau, 2010 Decennial Redistricting Data: Table P4 (2011) (Ex. 4), https://data.census.gov

/table?q=P4&g=040XX00US48&tid=DECENNIALPL2010.P4.

         4.       According to the 2020 Census, Texas has a VAP of 21,866,700, with a Hispanic

VAP of 7,907,319 (36.2%), a non-Hispanic Black VAP of 2,575,257 (11.8%), a mixed-race non-

Hispanic Black population of 2,724,690 (12.5%), a non-Hispanic Asian VAP of 1,205,578

(5.51%), and a non-Hispanic White VAP of 9,437,933 (43.2%). U.S. Census Bureau, 2020

Decennial           Redistricting     Data:       Table        P4       (2021)       (Ex.        5),

https://data.census.gov/table?q=P4&g=040XX00US48&tid=DECENNIALPL2020 .P4.

         5.       The 2007-2011 American Community Survey (ACS) estimated that the citizen

voting age population (CVAP) of Texas was 15,583,702, with a Hispanic CVAP of 4,048,208
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(26%), a Black CVAP of 1,988,805 (12.8%), a mixed-race Black CVAP of 2,008,551 (12.9%), an

Asian CVAP of 447,505 (2.9%), and a White CVAP of 11,925,497 (76.5%). U.S. Census Bureau,

American Community Survey 2007-2011: Tables B05003, B05003B, B05003I (Ex. 6), available

at https://data.census.gov.

       6.      The 2017-2021 ACS estimated that the CVAP of Texas is 18,729,813, with a

Hispanic CVAP of 5,823,485 (31.1%), a Black CVAP of 2,443,870 (13%), a mixed-race Black

CVAP of 2,475,017 (13.2%), an Asian CVAP of 731,264 (3.9%), and a White CVAP of

12,803,761 (68.4%). U.S. Census Bureau, American Community Survey 2017-2021: Tables

B05003, B05003B, B05003I (2022) (Ex. 7), available at https://data.census.gov.

       7.      Between 2010 and 2020, the total population of Texas increased by 3,999,944

according to U.S. Census data. The non-Hispanic White population increased by 187,252,

accounting for 4.7% of overall growth. The Hispanic population increased by 1,980,796,

accounting for 49.5% of overall growth; and the non-Hispanic Black/African American population

increased by 557,887, accounting for 13.9% of overall growth, and the mixed-race non-Hispanic

Black population increased by 654,133, accounting for 16.4% of overall growth. 2020 Decennial

Redistricting Data Table P2; 2010 Decennial Redistricting Data: Table P2.

       8.      From 2007-2011 to 2017-2021, the CVAP of Texas grew by 3,146,111,

according to ACS data. The non-Hispanic White CVAP increased by 415,932, accounting for

13.2% of overall growth. The Hispanic CVAP increased by 1,775,277, accounting for 56.4%

of overall growth; and the Black/African-American population increased by 466,466,

accounting for 14.8% of overall growth. American Community Survey 2017-2021: Tables

B05003, B05003B, B05003I; American Community Survey 2007-2011: Tables B05003,

B05003B, B05003I.
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       9.     According to the 2020 Census, Bexar County has a total population of 2,009,324,

with a Hispanic population of 1,190,958 (59.3%), a non-Hispanic Black population of 147,875

(7.4%), a mixed-race non-Hispanic Black population of 167,807 (8.4%), a non-Hispanic Asian

population of 65,217 (3.2%), and a non-Hispanic White population 519,123 (25.8%). U.S. Census

Bureau, 2020 Decennial Redistricting Data: Table P2, Bexar County (2021) (Ex. 8),

https://data.census.gov/table?q=P2&g=040XX00US48.

       10.    According to the 2020 Census, Dallas County has a total population of 2,613,539,

with a Hispanic population of 1,057,835 (40.5%), a non-Hispanic Black population of 564,741

(21.6%), a mixed-race non-Hispanic Black population of 591,854 (22.6%), a non-Hispanic Asian

population of 181,314 (6.9%), and a non-Hispanic White population of 724,987 (27.7%). U.S.

Census Bureau, 2020 Decennial Redistricting Data: Table P2, Dallas County (2021) (Ex. 9),

https://data.census.gov/table?q=P2&g=040XX00US48.

       11.    According to the 2020 Census, El Paso County has a total population of 865,657,

with a Hispanic population of 715,351 (82.6%), a non-Hispanic Black population of 24,415

(2.8%), a mixed-race non-Hispanic Black population of 28,534 (3.3%), a non-Hispanic Asian

population of 10,692 (1.2%), and a non-Hispanic White population of 98,219 (11.3%). U.S.

Census Bureau, 2020 Decennial Redistricting Data: Table P2, El Paso County (2021) (Ex. 10),

https://data.census.gov/table?q=P2&g=040XX00US48.

       12.    According to the 2020 Census, Harris County has a total population of 4,731,145,

with a Hispanic population of 2,034,709 (43%), a non-Hispanic Black population of 885,517

(18.7%%), a mixed-race non-Hispanic Black population of 912,559 (19.3%), a non-Hispanic

Asian of 344.762 (7.2%), and a non-Hispanic White Population of 1,309,593 (27.7%). U.S. Census
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Bureau, 2020 Decennial Redistricting Data: Table P2, Harris County (2021) (Ex. 11),

https://data.census.gov/table?q=P2&g=040XX00US48.

       13.     According to the U.S. Census, Quick Check, Harris County had in July 1, 2021 an

estimated total population of 4,728,030, with a Hispanic population of 44.4%, a non-Hispanic

Black population of 20.3%, a non-Hispanic Asian population of 7.4%, and a non-Hispanic White

population of 27.7%. QuickFacts provides statistics for all states and counties, and for cities and

towns with a population of 5,000 or more.

       14.     According to the 2020 Census, Hidalgo County has a total population of 870,781,

with a Hispanic population of 800,001 (91.9%), a non-Hispanic Black population of 3,3,364

(0.4%), a mixed-race non-Hispanic Black population of 3,896 (0.4%), a non-Hispanic Asian

population of 8,604 (1.0%), and a non-Hispanic White population of 53,338 (6.1%). U.S. Census

Bureau, 2020 Decennial Redistricting Data: Table P2, Hidalgo County (2021) (Ex. 12),

https://data.census.gov/table?q=P2&g=040XX00US48.

       15.     According to the 2020 Census, Travis County has a total population of 1,290,188,

with a Hispanic population of 421,110 (32.6%), a non-Hispanic Black population of 96,270

(7.54%), a mixed-race non-Hispanic Black population of 109,182 (8.5%), a non-Hispanic Asian

population of 99,660 (9.1%), and a Non-Hispanic White population of 612,824 (47.5%). U.S.

Census Bureau, 2020 Decennial Redistricting Data: Table P2, Travis County (2021) (Ex. 13),

https://data.census.gov/table?q=P2&g=040XX00US48.

EAC Data

       16.     In 2016, Texas election officials counted 449,258 returned domestic civilian

mail ballots and rejected 8,177, according to EAVS data. U.S. Election Assistance Comm’n,

Election Administration and Voting Survey 2016 Comprehensive Report 23-26 (2017) (Ex.
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14), https://perma.cc/8PEM-GB5D. Considering only accepted and rejected ballots, this

yields a 2016 domestic civilian rejection rate of 1.8%. See id.

       17.    In 2016, Texas election officials counted 19,364 returned military and overseas

mail ballots and rejected 1,136. See Election Administration and Voting 2016 Comprehensive

Ballot Report 143-147. Considering only accepted and rejected ballots, this yields a 2016

military and overseas rejection rate of 5.5%. See id.

       18.    In 2018, Texas election officials counted 527,787 returned civilian mail ballots

and rejected 9,377, according to EAVS data. U.S. Election Assistance Comm’n, Election

Administration and Voting Survey 2018 Comprehensive Report 29-32 (2019) (Ex. 15),

https://perman.cc/D6LF-VGEG. Considering only accepted and rejected ballots, this yields a

2018 domestic civilian rejection rate of 1.7%. See id.

       19.    In 2018, Texas election officials counted 21,376 returned military and overseas

mail ballots and rejected 1,515, according to EAVS data. Election Administration and Voting

Survey 2018 Comprehensive Report 110-112. Considering only accepted and rejected ballots,

this yields a 2018 military and overseas rejection rate of 6.6%. See id.

       20.    In 2020, Texas election counted 982,362 returned civilian mail ballots and

rejected 8,304, according to EAVS data. U.S. Election Assistance Comm’n, Election

Administration and Voting Survey 2020 Comprehensive Report 33-37 (2021) (Ex. 16),

https://perma.cc/M4WC-K8TA. Considering only accepted and rejected ballots, this yields a

2020 domestic civilian rejection rate of 0.84%. See id.

       21.    In 2020, Texas election officials counted 59,380 returned military and overseas

mail ballots and rejected 1,399, according to EAVS data. Election Administration and Voting
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Survey 2020 Comprehensive Report 198-200. Considering only accepted and rejected ballots,

this yields a 2020 military and overseas rejection rate of 1.5%. See id.

          22.      In 2022, Texas election officials counted 356,987 returned civilian mail ballots

and rejected 12,575, according to EAVS data. U.S. Election Assistance Comm’n, U.S.

Election        Assistance   Comm’n,    Election   Administration    and   Voting   Survey   2022

Comprehensive Report 33-38 (2023) (Ex. 17), https://perma.cc/C4WD-ESXL. Considering

only accepted and rejected ballots, this yields a 2022 domestic civilian rejection rate of 3.4%.

See id.

          23.      In 2022, Texas election officials counted 13,228 returned military and overseas

mail ballots and rejected 654, according to EAVS data. Election Administration and Voting

Survey 2022 Comprehensive Report 219-221. Considering only accepted and rejected ballots,

this yields a 2022 military and overseas rejection rate of 4.7%. See id.




SO ORDERED and SIGNED this _______ day of ________________________ 2023.



                                                       __________________________________
                                                       Hon. Xavier Rodriguez
                                                       UNITED STATES DISTRICT JUDGE
